          Case 2:20-cv-00215-SWS Document 197 Filed 05/16/22 Page 1 of 3
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ATTORNEYS FOR PLAINTIFFS

                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF WYOMING


 CARLIE SHERMAN, ANNA GOZUN,                           )
 and AMANDA NASH, on behalf of themselves and          )
 all similarly situated persons,                       )
                                                       )
            PLAINTIFFS,                                ) Case No. 2:20-CV-215-SWS
 v.                                                    )
                                                       )
 TRINITY TEEN SOLUTIONS, INC., a Wyoming               )
 corporation ANGELA C. WOODWARD; JERRY D.              )
 WOODWARD; KARA WOODWARD; KYLE                         )
 WOODWARD; and DALLY-UP, LLC, a                        )
 Wyoming limited liability corporation;                )
                                                       )
            DEFENDANTS.

                                                       _____________________________

               NOTICE TO TAKE THE DEPOSITION OF KARA WOODWARD
          Case 2:20-cv-00215-SWS Document 197 Filed 05/16/22 Page 2 of 3
TO:      Kara Woodward
         c/o Lillian L. Alves
         Thomas Quinn
         Lindsey M. Romano
         555 Seventeenth Street
         Suite 3400
         Denver, CO 80202


         PLEASE TAKE NOTICE, that Plaintiffs, Carlie Sherman, Anna Gozun, and Amanda

Nash, pursuant to Rule 30 of the Federal Rules of Civil Procedure, hereby files this notice of

Deposition of Defendant, Kara Woodward, via teleconference1, commencing on Wednesday,

June 15, 2022, beginning at 10:00 a.m. CST, Central Standard Time, and continuing thereafter

from hour to hour and day to day until complete.

         The deposition will be taken on behalf of Plaintiffs for the purpose of discovery, use as

evidence, preservation of testimony, and all other purposes authorized by law and will be recorded

by a certified court reporter, through Zoom, who will record the deposition by means of stenograph

and/or audio recordings. The deposition may also be recorded by video or other visual and

electronic means. A representative from the court reporting agency will contact all attorneys that

are parties to this action to provide the Zoom invite prior to the date of the deposition.

                                                       /s/Craig A. Edgington
                                                       Craig A. Edgington (TN#38205)
                                                       Brice M. Timmons (TN#29582)
                                                       DONATI LAW, PLLC
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1
  “Teleconference” is defined to mean any means of taking the deposition that utilizes telecommunications technology
including, but not limited to, telephone, videoconference, Voice Over Internet Protocol audio. The specific details of
the method shall be provided either by the attorney noticing this deposition or by the entity providing the
teleconference service. The method of taking the deposition shall govern the manner in which exhibits shall be
presented to the deponent, but the deponent should be prepared to have access to a computer with a high-speed internet
connection, video capability, Adobe Flash, and a Google Chrome browser. As of the date of this Notice, the attorney
giving notice of the deposition intends to utilize Zoom as the specific mechanism to take the deposition. In the event
that this is not feasible for the deponent, deponent should contact the attorney giving notice of this deposition as soon
as practicable to make alternative arrangements.


                                                          -2-
        Case 2:20-cv-00215-SWS Document 197 Filed 05/16/22 Page 3 of 3




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                                              ATTORNEYS FOR PLAINTIFFS AND
                                              PUTATIVE CLASS MEMBERS


                                 CERTIFICATE OF SERVICE

       This certifies that a true and correct copy of the above and foregoing document has been
served with the Court’s ECF filing system, and via e-transmission to all parties this the 16th day of
May 2022.

 Thomas Quinn                                                 [x]   CM/ECF
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                                                              /s/Craig A. Edgington




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